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                       UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF OHIO
                             EASTERN DIVISION


United States of America,

      V.                                         Case No. 2:21-cr-23(1)

                                                 Judge Michael H. Watson
Patrick Foster, Jr.,

                                    ORDER

      There being no objections, the Court hereby adopts the Report and

Recommendation of the Magistrate Judge, EOF No. 132, that Defendant's guilty

plea be accepted. The Court accepts Defendant's plea of guilty to Count 1 of

the Indictment, and he is hereby adjudged guilty on that count. The Court will

defer the decision of whether to accept the plea agreement until the sentencing

hearing.

      IT IS SO ORDERED.




                                       ICHAEL H. WATSON,JUDGE
                                     UNITED STATES DISTRICT COURT
